8:13-cr-00211-LSC-FG3        Doc # 133    Filed: 08/19/15    Page 1 of 1 - Page ID # 372




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

               Plaintiff,                                      8:13CR211

     vs.
                                                                 ORDER
JUSTIN LASLEY,

               Defendant.

     At the initial appearance of the defendant on the charges contained in the
indictment on file, the United States moved to detain the defendant without bail pending
trial on the basis that he was a flight risk and a danger to the community. At the time of
his initial appearance before the court, the defendant was in the custody of Omaha
Nation Detention and Holding Facility authorities on tribal charges. Accordingly,
     IT IS ORDERED:
       The government's motion for detention of Justin Lasley pursuant to the Bail
Reform Act is held in abeyance pending the defendant's coming into federal custody.
     IT IS FURTHER ORDERED:
       The U.S. Marshal for the District of Nebraska is directed to place a detainer with
the correctional officer having custody of the defendant.

     DATED this 19th day of August, 2015.

                                    BY THE COURT:

                                    s/ F.A. Gossett, III
                                    United States Magistrate Judge
